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                     EXHIBIT A
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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_____________________________________________

IN RE: GENERIC PHARMACEUTICALS PRICING                        :       MDL NO. 2724
ANTITRUST LITIGATION                                          :       16-MD-2724
______________________________________________                :
THIS DOCUMENT RELATES TO                                      :       HON. CYNTHIA M.
RUFE
                                                              :
ALL ACTIONS                                                   :
_____________________________________________



                   Report and Recommended Order from
         Special Master David H. Marion on Issue of Appointment of a
             Liaison Counsel on Behalf of Direct Action Plaintiffs
         This report is respectfully submitted by Special Master David H. Marion to

accompany a recommended Order appointing a liaison counsel for the Direct Action

Plaintiffs (DAPs).

I.       BACKGROUND

         At the status conference before Judge Rufe held on Friday, April 5, 2019, William

Blechman, Esquire of the Kenny Nachwalter firm, representing the Kroger plaintiffs,

applied to be appointed liaison counsel for the DAPs. Opposition to that application was

expressed by attorneys Peter St. Phillip and Judith Zahid representing plaintiffs Humana and

United, respectively. The comments of the Court at the conference led the undersigned to

believe that the Court wished for the concerned parties to address the issue in the first

instance with Special Master Marion. Apparently counsel had the same understanding

because they asked to meet with me following the conclusion of the conference to present

their views. Because I had scheduled another mediation-type meeting to follow the Court




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conference, I asked counsel on both sides of the issue to submit their positions in writing to

me, after which I would arrange for a conference call to discuss same.

         Since that time a number of written submissions from both sides has been presented

to me. A conference call was held, and I issued an informal recommendation for resolution

of the matter, to which the parties have responded with proposed changes to such Order. In

the meantime, the Court on April 8 issued a Pre-Trial Order covering applications for this

liaison counsel position and deadlines for submissions thereon.

II.      DISCUSSION

         I have received a number of well-drafted letter briefs – both before and responding to

my issuance of an informal recommended Order – fully setting forth the opposing positions

on this matter. It is obvious to me that there will not be agreement, and therefore I am now

recommending entry of an order and suggesting that supporting briefs and objections be

filed now.

         Mr. St. Phillip “for purposes of expedition,” lodged an early objection based on my

failure to include the following proposed language in my recommended Order:

                 “The Court hereby orders all plaintiffs’ counsel to continue to
                 confer and attempt to agree upon the manner and extent to
                 which discovery should be coordinated among the class action
                 and Direct Action Plaintiff cases so as to achieve any benefits
                 of efficiency that can be gained from coordinating these cases
                 for pretrial purposes. Counsel for the class and for the Direct
                 Action plaintiffs shall continue to cooperate to avoid
                 conducting duplicative discovery.”

I did not include that language in my recommended order (and Humana and United object to

its omission) because I regard the DAP liaison issue as separate and distinct from the general

leadership and working structure among plaintiffs’ lawyers. On the latter subject, I have



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received an ex parté letter from counsel for certain plaintiffs and have invited plaintiffs’

liaison/lead counsels Roberta Liebenberg and Dianne Nast to also submit their views ex

parté to me. On that separate issue of leadership/organization on the plaintiffs’ side of the

case, in accordance with Pre-Trial order No. 68, paragraph 3.f, I will soon convene a

conference call to explore resolving that issue among plaintiffs’ counsel.

III.     RECOMMENDED ORDER

         I recommend the Court’s entry of the attached Order appointing Mr. Blechman as

liaison counsel for the DAPs based in part on the following reasons:

         1.      The appointment of Mr. Blechman as liaison counsel has the unanimous

support of all plaintiffs’ and defendants’ lead/liaison counsel and is opposed only by counsel

for Humana and United.


         2.      Mr. Blechman has substantial and successful experience in acting as liaison

counsel in cases such as this, has already been acting informally as such and has pledged to

limit his role to administrative functions and to treat all parties equally, without charging for

his time in doing so.


         3.      The number of direct action plaintiffs at present does not warrant appointing

more than one liaison counsel for that group, even considering that there may be more such

cases coming. The fact that Humana and United are insurance companies in contrast to the

other DAPs, does not seem to warrant two liaison counsels for this group; the plaintiffs’

organization and leadership seems to be acting responsibly and effectively until now; and

there does come a time when too many cooks can spoil the broth.




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         4.      The above summary of my reasoning does not do justice to all the arguments

made on each side; therefore, I suggest they may want to consolidate the letter briefs they

have sent to me and submit more succinct briefs to the Court at this time. Since both sides

have invoked the concepts of “expedition” and “efficiency”, I have urged the objectors to

file their objections forthwith rather than waiting for the deadlines set forth in the Court’s

Order of April 8, since they have already fully briefed the issues and the Order I am

recommending now to the Court is identical to that which I informally recommended to the

parties last week. Attached hereto as Exhibit “A” is my recommended Order.


Respectfully submitted,




David H. Marion, Special Master




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                  EXHIBIT “A”




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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_____________________________________________

IN RE: GENERIC PHARMACEUTICALS PRICING                       :       MDL NO. 2724
ANTITRUST LITIGATION                                         :       16-MD-2724
______________________________________________               :
THIS DOCUMENT RELATES TO                                     :       HON. CYNTHIA M. RUFE
                                                             :
ALL ACTIONS                                                  :
_____________________________________________

                               PRETRIAL ORDER NO. ______
                            (Direct Action Plaintiffs’ Liaison Counsel)


        AND, NOW, this ___ day of April, 2019, it is hereby ORDERED that William J.
Blechman, counsel for the Kroger Direct Action Plaintiffs, is appointed as Liaison Counsel for
the plaintiffs in the following direct actions coordinated for purposes of pretrial proceedings with
this MDL (“Direct Action Plaintiffs” or “DAPs”):

        1.     The Kroger Co., et al. v. Actavis Holdco U.S. Inc., et al., No. 2:18-cv-00284 (E.D.
               Pa.);

        2.     Humana, Inc. v. Actavis Elizabeth, LLC, et al., No. 2:18-cv-03299 (E.D. Pa.);

        3.     United HealthCare Services, Inc., v. Actavis Holdco U.S., Inc., et al., No. 2:19-cv-
               00629 (E.D. Pa.); and

        4.     Any other direct action that is filed and coordinated with this MDL for pre-trial
               proceedings after the entry of this Order.

        DAP Liaison Counsel is authorized to perform all necessary administrative functions,
including receiving Orders and notices from the Court on behalf of Direct Action Plaintiffs,
preparing and transmitting copies of such Orders and notices to other counsel for Direct Action
Plaintiffs, and the performance of other tasks as determined by the Court. Liaison Counsel shall
take all reasonable steps to assure that all such communications from and to the Court or any
party to this MDL can be transmitted to all DAPs contemporaneously or as promptly as possible.
DAP Liaison Counsel is required to maintain complete files with copies of all documents served
upon him in hard copy or electronic form, and to make such files available to other counsel for
Direct Action Plaintiffs.




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        Liaison Counsel shall not seek compensation for time spent incurred in performing the
liaison services hereunder, but may seek reimbursement of expenses when reasonable and
necessary to perform services hereunder, over and above those for said counsel’s clients.

        IT IS SO ORDERED.

                                            BY THE COURT:


                                            __________________________
                                            CYNTHIA M. RUFE, J.




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